                            Case 6:19-cr-10079-JWB Document 8 Filed 05/15/19 Page 1 of 1

''· AO 470 (Rev. 12/03) Order of Temporary Detention
                                                                                                                           FILED

                                          UNITED STATES DISTRICT COURT
                                                                                                                        MW 1 5 2019
                                                                     District of                                    KA %AS
                                                                                                               Cler;ltl~urt
                                                                                                               By                     Deputy Clerk

           UNITED STATES OF AMERICA                                                    ORDER OF TEMPORARY DETENTION
                                                                                        PENDING HEARING PURSUANT TO
                               V.                                                             BAIL REFORM ACT



            RAUL HERNANDEZ-PINEDA                                             Case Number: 19-10079-01-JWB
                           Defendant




Upon motion of the                                                     Government

detention hearing is set for         -~?_/J_o____/ 1. . .1~--
                                                         ..   * at _ _ _ _ _ _1_:3_0_P._M_._ _ _ __
                                                 '     D~                                                             Dme

before                                            GWYNNEE. BIRZER, U.S. MAGISTRATE JUDGE
                                                                     Name of Judicial Officer

                                                                WICHITA, KANSAS
                                                               Location ofJudicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States marshal) (


                                            Other Custodia/ Official




Date:   --~
          6 /_
             16'~(l_1 _ _ __



*If not held immediately upon defendant' s fir st appearance, the hearing may be continued for up to three days upon motion of the Government, or up to five
days upon motion of the defendant. 18 U.S .C. § 3 l 42(f)(2).
A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection(!) sets forth the grounds that may be asserted only
by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the judicial
officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
